
992 So.2d 1023 (2008)
STATE ex rel. Frankie CLARKSON
v.
STATE of Louisiana.
No. 2008-KH-2314.
Supreme Court of Louisiana.
October 24, 2008.
Writ granted in part; otherwise denied. Because relator has shown particularized need, the Second Circuit Court of Appeal is ordered to provide him with a copy of his application for post-conviction relief filed there. State ex rel. Simmons v. State, 93-0275 (La.12/16/94), 647 So.2d 1094. However, as to any supporting documents to be filed as exhibits, relator is directed to seek copies, or cost estimates, from the district court. Id.; see generally State ex rel. McKnight v. State, 98-2258 (La.App. 1st Cir.12/03/98), 742 So.2d 894.
